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                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
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11   LUQRIS THOMPSON,
                                                            Case No.: 2:14-cv-01286-JAD-NJK
12          Plaintiff(s),
                                                         REPORT AND RECOMMENDATION
13   v.
14   GEORGE LIBBEY,
15          Defendant(s).
16         On September 26, 2018, the Court ordered Plaintiff to update his address pursuant to Local
17 Rule IA 3-1, and warned that the failure to do so may result in dismissal of this case. Docket No.
18 118. The deadline for Plaintiff to update his address was set for October 10, 2018. Id. To date,
19 Plaintiff has not complied.
20         Plaintiff has disobeyed the Local Rules that he update his address and has disobeyed the
21 Court’s order similarly requiring that he do so. Plaintiff’s failure to update his address and his
22 disobedience of a Court order are abusive litigation practices that have interfered with the Court’s
23 ability to hear this case, delayed litigation, disrupted the Court’s timely management of its docket,
24 wasted judicial resources, and threatened the integrity of the Court’s orders and the orderly
25 administration of justice. Sanctions less drastic than dismissal are unavailable because Plaintiff
26 has refused to comply with the order of this Court notwithstanding the Court’s warning that case-
27 dispositive sanctions may be imposed. Moreover, dismissal is expressly contemplated in the
28 governing rule. See Local Rule IA 3-1.

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 1         Accordingly, in light of the circumstances outlined above, the Court RECOMMENDS
 2 that this case be DISMISSED without prejudice.
 3         IT IS SO ORDERED.
 4         Dated: October 22, 2018
 5                                                                ______________________________
                                                                  Nancy J. Koppe
 6                                                                United States Magistrate Judge
 7
 8                                               NOTICE
 9         Pursuant to Local Rule IB 3-2 any objection to this Report and Recommendation must
10 be in writing and filed with the Clerk of the Court within 14 days of service of this document.
11 The Supreme Court has held that the courts of appeal may determine that an appeal has been
12 waived due to the failure to file objections within the specified time. Thomas v. Arn, 474 U.S.
13 140, 142 (1985). This circuit has also held that (1) failure to file objections within the specified
14 time and (2) failure to properly address and brief the objectionable issues waives the right to appeal
15 the District Court’s order and/or appeal factual issues from the order of the District Court.
16 Martinez v. Ylst, 951 F.2d 1153, 1157 (9th Cir. 1991); Britt v. Simi Valley United Sch. Dist., 708
17 F.2d 452, 454 (9th Cir. 1983).
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